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                EXHIBIT A
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                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

HAROLD FRANKLIN OVERSTREET,                         §
                                                    §
          Plaintiff,                                §
                                                    §
v.                                                  §
                                                            CIVIL ACTION NO.: ___________
                                                    §
ALLSTATE VEHICLE AND PROPERTY                       §
INSURANCE COMPANY,                                  §
                                                    §
          Defendant.                                §

                                        INDEX OF DOCUMENTS

 EXHIBIT                                           DESCRIPTION

     A.            Index of Matters Being Filed

     B.            Docket Sheet in the state court action

     C.            Plaintiff’s Original Petition filed in the 96th Judicial District Court of Tarrant
                   County, Texas on February 12, 2020 (Cause No. 096-315149-20)

     D.            Civil Case Information Sheet filed in the 96th Judicial District Court of Tarrant
                   County, Texas on February 12, 2020 (Cause No. 096-315149-20)

     E.            Citation Issued to Allstate Vehicle and Property Insurance Company on February
                   13, 2020

     F.            Affidavit of Service of Citation on Allstate Vehicle and Property Insurance
                   Company filed on February 25, 2020

     G.            Defendant Allstate Vehicle and Property Insurance Company’s Original Answer to
                   Plaintiff’s Original Petition filed in the 96th Judicial District Court of Tarrant
                   County, Texas on March 11, 2020 (Cause No. 096-315149-20)

     H.            List of Counsel of Record




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                                               Respectfully Submitted,

                                               /s/ Susan E. Egeland
                                               W. NEIL RAMBIN
                                               State Bar No. 16492800
                                               rambindocket@faegredrinker.com
                                               SUSAN E. EGELAND
                                               State Bar No. 24040854
                                               susan.egeland@faegredrinker.com
                                               SARA E. INMAN
                                               State Bar No. 24073098
                                               sara.inman@faegredrinker.com
                                               FAEGRE DRINKER BIDDLE & REATH LLP
                                               1717 Main Street, Suite 5400
                                               Dallas, Texas 75201
                                               (469) 357-2533
                                               (469) 327-0860 (fax)

                                               ATTORNEYS FOR DEFENDANT
                                               ALLSTATE VEHICLE AND PROPERTY
                                               INSURANCE COMPANY


                                    CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the foregoing document has been served on

all counsel of record in accordance with the Federal Rules of Civil Procedure on March 13, 2020.


                                               /s/ Susan E. Egeland
                                               SUSAN E. EGELAND




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